         CASE 0:20-cv-02195-NEB-BRT Doc. 18 Filed 10/20/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – MINNESOTA AND                        Civil Action No. 0:20-cv-02195
 LEAGUE OF WOMEN VOTERS OF
 MINNESOTA,

               Plaintiff,                              NOTICE OF HEARING ON
                                                    TEMPORARY RESTRAING ORDER
        v.                                          AND PRELIMINARY INJUNCTION

 ATLAS AEGIS LLC, ANTHONY CAUDLE,
 JOHN DOES #1-10,

               Defendants.


       PLEASE TAKE NOTICE that a hearing regarding Plaintiffs’ Motion for Temporary

Restraining Order and Preliminary Injunction will be held before the Honorable Nancy E. Brasel

on Monday, October 26, 2020, at 3pm via Zoom meeting in Courtroom 3A of the United States

District Courthouse, 300 South Fourth Street, Minneapolis, MN 55415.

       The briefing schedule for this motion is as follows:

   •   Opposition to Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

       Injunction to be filed and served no later than Noon, Friday, October 23, 2020;

   •   Plaintiffs’ Reply in Support of its Motion for Temporary Restraining Order and

       Preliminary Injunction to be filed and served no later than 10am, Monday, October 26,

       2020.

 Date: October 20, 2020                           Respectfully submitted,

                                                  s/ Julia Dayton Klein
                                                  LATHROP GPM LLP
                                                  Julia Dayton Klein (MN Bar #0319181)
                                                  Amy Erickson (MN Bar #0399214)
                                                  500 IDS Center
                                                  80 South 8th Street
           CASE 0:20-cv-02195-NEB-BRT Doc. 18 Filed 10/20/20 Page 2 of 2




                                          Minneapolis, MN 55402
                                          Julia.DaytonKlein@lathropgpm.com
                                          Amy.Erickson@lathropgpm.com
                                          (612) 632-3153
                                          (612) 632-3470

                                          EMERY CELLI BRINCKERHOFF
                                          ABADY WARD & MAAZEL LLP
                                          Jonathan S. Abady*
                                          Mathew D. Brinckerhoff*
                                          O. Andrew F. Wilson*
                                          Debra L. Greenberger*
                                          Vivake Prasad*
                                          600 Fifth Avenue, 10th Floor
                                          New York, NY 10020
                                          Tel: 212-763-5000
                                          jabady@ecbawm.com
                                          mbrinckerhoff@ecbawm.com
                                          awilson@ecbawm.com
                                          dgreenberger@ecbawm.com

                                          FREE SPEECH FOR PEOPLE
                                          Ronald Fein*
                                          John Bonifaz*
                                          Ben Clements*
                                          1320 Centre Street, Suite 405
                                          Newton, MA 02459
                                          Telephone: (617) 244-0234
                                          jbonifaz@freespeechforpeople.org
                                          rfein@freespeechforpeople.org
                                          bclements@freespeechforpeople.org


                                          ATTORNEYS FOR PLAINTIFFS

                                          *Motions for admission pro hac vice
                                          forthcoming




GP:4853-2803-1695 v1
